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                              UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
                Form 32. Response to Notice of Case Being Considered for Oral Argument
                    Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

              9th Cir. Case Number(s) 24-3576

              Case Name Gibson, et al. v. Cendyn Group, LLC, et al.

              Hearing Location (city) San Francisco

              Your Name Boris Bershteyn

              List the sitting dates for the two sitting months you were asked to review:
               May 12-16, May 19-23, June 2-6, June 9-13




              Do you have an unresolvable conflict on any of the above dates?                                Yes      No

               If yes, list the specific day(s) and the specific reason(s) you are unavailable:
               Counsel for appellees are unavailable May 13-15 and June 11-13 due to previously
               scheduled conflicting commitments related to hearings in other cases.




               Do you have any other cases pending in this court for which you received a notice
               of consideration for oral argument during the three sitting months listed above?
                  Yes       No

               If yes, list the number, name, and hearing city of each of the other case(s):




              Signature s/Boris Bershteyn                                            Date 1/28/2025
              (use “s/[typed name]” to sign electronically-filed documents)
                                 Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

              Form 32                                                                                        New 12/01/2018
